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                                                               United States Bankruptcy Court
                                                                        Middle District of Georgia
            Matthew Brent Johnson
 In re      Heather Nicole Johnson                                                                        Case No.   17-30907
                                                                                   Debtor(s)              Chapter    13



                                                                     CERTIFICATE OF SERVICE
I hereby certify that on May 5, 2019, a copy of Notice of Bankruptcy; CerSer    was served electronically or by
regular United States mail to all interested parties, the Trustee and all creditors listed below.




 Eagles Landing Family Practice
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 Saint Paul, MN 55164
 Medicredit, Inc
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 Piedmont Rockdale Hospital
 PO Box 630957
 Cincinnati, OH 45263-0957
 Rockdale Anesthesia Services
 PO Box 1078
 Conyers, GA 30012-1078
 USCB Corporation
 PO Box 75
 Archbald, PA 18403

 Courtney Davis, Trustee
 1090-C Founders Blvd
 Athens, GA 30806



                                                                                 /s/ Carol S. Dew
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